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    8                       UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10   STEFFANIE AGERKOP, an           ) Case No.: 2:19-cv-10414-CBM-JPRx
   11   individual; TEQUILLA TOLBERT,   )
        an individual; KARA WALDRON-    ) COLLECTIVE ACTION
   12   PARODI, an individual; EMMA     )
   13   RADDING, an individual, and on  ) Assigned to Hon. Consuelo B. Marshall
                                        )
        behalf of all others similarly situated,
   14                                   ) JUDGMENT IN FAVOR OF
   15                Plaintiffs,        ) STEFFANIE AGERKOP [132]
                vs.                     )
   16                                   ) Complaint Filed: December 9, 2019
   17   SISYPHIAN, LLC dba XPOSED       )
        GENTLEMAN’S CLUB, a California )
   18   Limited Liability Company; BRAD )
   19   BARNES, an individual; DOE      )
        MANAGERS 1-3; and DOES 4-100, )
   20
        inclusive,                      )
   21                                   )
                    Defendants.         )
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                                 JUDGMENT IN FAVOR OF STEFFANIE AGERKOP
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    1         On September 24, 2021, defendant Sisyphian, LLC dba Xposed
    2   Gentlemen’s Club served plaintiff Steffanie Agerkop (“Plaintiff”) with a Fed. R.
    3   Civ. P. 68 Offer of Judgment in this action in the amount of Fifteen Thousand
    4   U.S. Dollars to Plaintiff, plus Twenty Thousand U.S. Dollars for Plaintiff’s
    5   attorneys’ fees and costs. On September 27, 2021, Plaintiff accepted the offer.
    6   See Dkt. 131.
    7         In accordance with the Offer of Judgment and Notice of Acceptance,
    8   Plaintiff shall have and recover from defendant Sisyphian, LLC dba Xposed
    9   Gentlemen’s Club, Fifteen Thousand U.S. Dollars to Plaintiff, plus Twenty
   10   Thousand U.S. Dollars for Plaintiff’s attorneys’ fees and costs
   11         Accordingly, it is ORDERED AND ADJUDGED that a Final Judgment is
   12   entered for Plaintiff and against defendant Sisyphian, LLC dba Xposed
   13   Gentlemen’s Club for the total sum of Fifteen Thousand U.S. Dollars to Plaintiff,
   14   plus Twenty Thousand U.S. Dollars for Plaintiff’s attorneys’ fees and costs, with
   15   post judgment interest which shall be computed pursuant to 28 USC Section
   16   1961(a) from the date of the entry of this Judgment.
   17         IT IS SO ORDERED.
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   20   Dated: OCTOBER 13, 2021
                                               HONORABLE CONSUELO B. MARSHALL
   21                                            UNITED STATES DISTRICT JUDGE
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                                JUDGMENT IN FAVOR OF STEFFANIE AGERKOP
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